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 1
                                             PROOF OF SERVICE
 2
     STATE OF CALIFORNIA, COUNTY OF SACRAMENTO:
 3
           I am a citizen of the United States of America; I am over the age of eighteen (18) years and not a
 4 party to the within action; my business address is 400 Capitol Mall, Suite 2400, Sacramento, California
   95814. On the date below, I caused to be served the following document(s):
 5
           PROOF OF SERVICE ON DIAMOND FOUNDRY INC. OF NOTICE OF A LAWSUIT
 6 AND   REQUEST       TO WAIVE SERVICE OF A SUMMON, WAIVER OF THE SERVICE OF
   SUMMONS, AND ECF REGISTRATION INFORMATION
 7
           on the interested party, addressed as follows:
 8

 9   Diamond Foundry Inc.
     C/O Cherine Haddadian
10   322 E. Grand Ave.
     South San Francisco, CA 94080
11

12
           [BY CERTIFIED MAIL] By placing the document(s) listed above in a sealed envelope with
13         postage thereon fully prepaid, in the United States mail at Sacramento, California. I am familiar
           with the firm's practice of collection and processing correspondence for mailing. Under that
14         practice it would be deposited with the U.S. postal service on that same day with postage thereon
           fully prepaid in the ordinary course of business.
15
           [BY OVERNIGHT COURIER] I am readily familiar with the business practice of my place of
16         employment in respect to the collection and processing of times for delivery by overnight courier.
           The foregoing sealed envelope was placed for collection and overnight delivery by __________
17         this date consistent with the ordinary business practice of my employment, so that it will be
           picked up this date with delivery charges fully prepaid at Sacramento, California, and delivered
18         the following business day in the ordinary course of business.
19         [BY E-MAIL] By transmitting via e-mail the document(s) listed above to the addresses set forth
           below on this date before 5:00 p.m. This method of service was made pursuant to the agreement
20         of counsel.
21         [BY PERSONAL SERVICE] I caused such envelope to be delivered by hand to the offices
           listed above.
22
           (STATE) I declare under penalty of perjury under the laws of the State of California that the
23         above is true and correct.
24 Executed on July 22, 2024 at Sacramento, California.

25

26                                                     David Lee
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                                                PROOF OF SERVICE
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